Case 6:10-cv-00329-JRG Document 748-26 Filed 01/16/13 Page 1 of 1 PageID #: 8545




                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

  ADJUSTACAM LLC,                                       Case No.6: 1O-CV -329-LED
                Plaintiff,                             JURY TRIAL DEMANDED
  vs.

  AMAZON.COM, INC., ET AL.,
                 Defendants.




       [PROPOSED] ORDER GRANTING DEFENDANT SAKAR INTERNATIONAL,
          INC.'S OPPOSED MOTION FOR DECLARATION OF EXCEPTIONAL
             CASE AND AWARD OF FEES AND NO NT AXABLE EXPENSES

        The Court having noted Sakal' International, Inc. 's Motion for Declaration of Exceptional

 Case and Award of Fees and Nontaxable Expenses filed on January 16,2013 and having considered

 the motion, is of the opinion that the Motion for Declaration of Exceptional Case and Award of

 Fees and Nontaxable Expenses should be GRANTED.
